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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 NORA COXIE, ET AL.,                                                  CIVIL ACTION
     Plaintiffs


 VERSUS                                                               NO. 13-4735


 THEREX INC.,                                                         SECTION: "E" (5)
     Defendant

                                 ORDER OF DISMISSAL

         The Court having been advised by counsel for all parties that they have firmly agreed

upon a compromise in this matter;

         IT IS ORDERED that this action be and it is hereby dismissed as to all parties,

without costs and without prejudice to the right, upon good cause shown, within sixty days,

to reopen the action if settlement is not consummated. In addition, the Court specifically

retains jurisdiction to enforce the settlement agreement if settlement is not consummated

within sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d 424, 430 (5th Cir.

2002).

         COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT

TO APPEAR.

                     New Orleans, Louisiana, this 15th day of May, 2014.



                       ________________________________
                                 SUSIE MORGAN
                         UNITED STATES DISTRICT JUDGE
